                   Case 3:12-cr-02607-KC Document 55 Filed 05/28/20 Page 1 of 3


OProb 12B (7/93)

                              UNITED STATES DISTRICT COURT
                                                        for                                CA     27 PH 3:11

                                       WESTERN DISTRICT OF TEXAS


                   Request for Modifying the Conditions or Term of Supervision
                                 with Consent of the Offender
                              (Probation Form 49, Waiver of Hearing is Attached)

Name of Offender: Mark Edward Erhardt
Case Number:         EP:12-CR-2607-KC
Name of Sentencing Judicial Officer: Kathleen Cardone, U.S. District Judge
Date of Original Sentence:        July 10, 2013
Original Offense: Cts. 1-2: Receipt/Distribution of Material Involving the Sexual Exploitation of Minors,
Cts. 3-4: Possessing of Material Involving the Sexual Exploitation of Minors, Ct. 4: Aiding and Abetting
the Manufacture of a Controlled Substance Near A School, and Ct. 6: Maintaining A Drug Manufacturing
Premises, in violation of 18 USC 2252, 21 USC 841 and 18 USC 2, and 21 USC 856
Original Sentence: 120 months imprisonment and supervised release for a term of Life, as to all
counts, to be served concurrently
Type of Supervision: Supervised Release
Date Supervision Commenced:             April 9, 2020


                                         PETITIONING THE COURT

          To extend the term of supervision for               years, for a total term of        years.
[   ]

[x]       To modify the conditions of supervision as follows:

          1.   The defendant shall participate in the Computer Restriction/Monitoring Program
               (CRMP) and shall abide by all rules and requirements of the program.

          2. The defendant shall submit to periodic polygraph testing at the instruction of the
             probation officer as a means to ensure compliance with the requirements of
               supervision.

          3. The defendant shall not view or possess any "visual depiction" (as defined in 18 U.S.C.
               § 2256), including any photograph, film, video, picture, or computer or
                                                                                                computer-
               generated image or picture, whether made or produced by electronic, mechanical, or
               other means, of "sexually explicit conduct" (as defined in 18 U.S.C. § 2256).
                      Case 3:12-cr-02607-KC Document 55 Filed 05/28/20 Page 2 of 3


Mark Edward Erhardt
Docket No. EP:12-CR-2607-KC
Request for Modifying the Conditions or Term of Supervision with Consent of the Offender
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                                                             CAUSE

On April 9, 2020, Erhardt commenced his term of supervised release. A review of the conditions
imposed by Your Honor on July 10, 2013 revealed that the requested conditions were excluded.
According to investigative reports prepared by the Cyber Crimes Unit of Homeland Security
Investigation (HSI) and the presentence investigative report in this case, Erhardt used his personal
computer and hard drive to receive (view and/or download) videos and images of sexually exploited
children. Further, the investigation revealed Erhardt had utilized torrent, Edonkey, File Donkey and
Shareaza internet Peer to Peer (P2P) programs, which allow users to browse, share and download
material. Due to the fact the instant offense was a computer assisted crime and Erhardt has extensive
knowledge of computers due to his educational background, it is respectfully requested that the noted
conditions be included in this case in order to adequately monitor his computer and internet use. Said
conditions will also deter Erhardt from risk of recidivism.

Erhardt signed the Probation Form 49, Waiver of Hearing to Modify Conditions of Supervised Release
(attached).

Respectfully submitted,                                                Approv d by,


Arcelia Menchaca                                                       J. Anthony Glover
U.S. Probation Officer                                                 Supervising U.S. Probation Officer
Office (915) 585-5584                                                  Office (915) 585-6560
Cellular (915) 861-8468                                                Cellular (915) 861-8755
Date: May 26, 2020



THE COURT ORDERS:

              No action.

              The extension of supervision as noted above.

1xJ           The modification of conditions as noted above.

     ]        Other




                                                                      r        May 27, 2020
                                                                       Date
             Case 3:12-cr-02607-KC Document 55 Filed 05/28/20 Page 3 of 3




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       I have been advIsed and understand that I am entitled by Law to a hearing and assistance of
counsel before any unfavorable change may be made in my Conditions of Probation and Supervised
Release or my period or supervision being extended. By asslstance of counsel,' I understand that
have the right to be represented at the hearing by counsel of my own choosing if I am able to retain
counsel. I also understand that I have the right to request the court to appoint counsel to represent
me at such a hearing at no cost to myself If I am not able to retain counsel of my own choosing.

        hereby voluntarily waive my statutory right to a hearing and to assistance of counsel. I also
         I

agree to the following modification of my Conditions of Probation and Supervised Release or to the
proposed extension of my term of supervision:




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                                                  Date
